216 F.2d 957
    Elmer F. KELM, Collector of Internal Revenue of the UnitedStates, for the District of Minnesota, Appellant,v.Charles J. WINTON, Jr.
    No. 15202.
    United States Court of Appeals Eighth Circuit.
    Nov. 12, 1954.
    
      1
      Appeal from the United States District Court for the District of Minnesota.
    
    
      2
      George E. MacKinnon, U.S. Atty., and Alex Dim, Asst. U.S. Atty., St. Paul, Minn., for appellant.
    
    
      3
      Ward B. Lewis, Minneapolis, Minn., for appellee.
    
    
      4
      Appeal from District Court, 122 F.Supp. 649, dismissed, on stipulation of parties.
    
    